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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                       CASE NO. 25-CR-20035

   UNITED STATES OF AMERICA

   v.

   LUCAS SEDENO RODRIGUEZ et al.,

         Defendants.
   ____________________________________/

         ORDER CONTINUING PRELIMINARY HEARING AND ARRAIGNMENT

          THIS CAUSE comes before the Court on the United States’ Unopposed Motion to

   Continue Preliminary Hearing and Arraignment for Defendant Jose Luis Villares. Being fully

   advised, it is hereby ORDERED AND ADJUDGED that the Motion is GRANTED.

          Pursuant to Fed. R. Crim. P. 5.1(d), the Court finds that there is good cause to continue the

   Preliminary Hearing and Arraignment until February 11, 2025.

          The Preliminary Hearing and/or Arraignment for Defendant Jose Luis Villares is hereby

   continued and reset for February 11, 2025, at 10 a.m. before the duty magistrate judge.

          DONE AND ORDERED in Miami, Florida, this __ day of February, 2025.


                                                ________________________________________
                                                HONORABLE EDUARDO I. SANCHEZ
                                                UNITED STATES MAGISTRATE JUDGE


   cc:    Counsel of Record
